 8:13-cr-00314-LSC-SMB             Doc # 62   Filed: 10/11/13    Page 1 of 1 - Page ID # 104




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )                  8:13CR314
                      Plaintiff,                )
                                                )
       vs.                                      )                    ORDER
                                                )
ANTHONY WEINRICH,                               )
                                                )
                      Defendant.                )
       This matter is before the court on the motion for an extension of time by defendant
Anthony Weinrich (Weinrich) (Filing No. 60). Weinrich seeks until November 21, 2013, in which
to file pretrial motions in accordance with the progression order. Weinrich has filed an affidavit
wherein he consents to the motion and acknowledges he understands the additional time may
be excludable time for the purposes of the Speedy Trial Act (Filing No. 61). Weinrich's counsel
represents that government's counsel has no objection to the motion. Upon consideration, the
motion will be granted.


       IT IS ORDERED:
       Defendant Weinrich's motion for an extension of time (Filing No. 60) is granted.
Weinrich is given until on or before November 21, 2013, in which to file pretrial motions

pursuant to the progression order. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The

additional time arising as a result of the granting of the motion, i.e., the time between October

11, 2013, and November 21, 2013, shall be deemed excludable time in any computation of

time under the requirement of the Speedy Trial Act for the reason defendant's counsel requires
additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 11th day of October, 2013.
                                                    BY THE COURT:

                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
